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UNITED sTATEs DISTRICT COURT w : ly/ m c.
WESTERN DISTRICT OF TENNESSEQ5 AUG 25 PH 2

WESTERN DIVISION

l`l

 

 

GLOBAL GRANITE & MARBLE, LLC JUDGMENT IN A CIVIL CASE

vs

GLOBAL GRANITE STONE & CASE NO: 05-2374-D
SUPPLY, LLC

 

DECISICN BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Notice
Of voluntary Dismissal filed on August 4, 2005, this cause is
hereby dismissed with prejudice.

APPRovEn= M
WM ms M. GOLLD

ITED STATES DIST ICT COURT

   

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CV-02374 Was distributed by faX, mail, or direct printing on

August 29, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

